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                                                                       Dated: July 29th, 2022




                         IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
     In re:                                             )      Chapter 11
                                                        )
     Blackjewel, L.L.C., et al.,                        )      Case No. 19-30289
                                                        )
                            Debtors.1                   )      (Jointly Administered)

                        STIPULATION AND AGREED ORDER RESOLVING
                                 HOOPS RELATED CLAIMS

              David J. Beckman, in his capacity as the liquidation trustee (the “Trustee”) for the

 Blackjewel Liquidation Trust (the “Trust”), successor for certain purposes to the debtors and

 debtors-in-possession in the above-captioned chapter 11 cases (collectively, the “Debtors”) and

 Clearwater Investment Holdings, LLC, Construction & Reclamation Services, LLC, Forrest

 Machine, LLC, Lexington Coal Company, LLC, Lexington Coal Royalty Company, LLC, Jeffery

 A. Hoops, Sr., Triple H Real Estate, LLC, Black Diamond Insurance Group, LLC, Genesis


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   The former Debtors in these chapter 11 cases and the last four digits of each former Debtor’s former taxpayer
 identification number were as follows: Blackjewel, L.L.C. (0823); Blackjewel Holdings L.L.C. (4745);
 Revelation Energy Holdings, LLC (8795); Revelation Management Corporation (8908); Revelation Energy, LLC
 (4605); Dominion Coal Corporation (2957); Harold Keene Coal Co. LLC (6749); Vansant Coal Corporation
 (2785); Lone Mountain Processing, LLC (0457); Powell Mountain Energy, LLC (1024); and Cumber land River
 Coal LLC (2213).
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 Trucking, LLC, Republic Superior Products, LLC, Triple H Family, LP, Triple H Aviation, LLC,

 Walls & Associates, PLLC, Jeremy Hoops, and Jeffrey Hoops (individually or in any combination

 the “Hoops Parties”) (each of the Hoops Parties and the Trust individually a “Party” and sometimes

 collectively the “Parties”) hereby stipulate and agree to the terms of this Stipulation and Agreed

 Order (“Order”), and request that the Court order, as follows:

        WHEREAS, on August 7, 2019, Triple H Real Estate, LLC filed proof of claim number

 191 against Revelation Energy, LLC (“Claim 191”), which asserted a claim for $2,282,492.62.

        WHEREAS, on August 7, 2019, Lexington Coal Royalty Company, LLC filed proof of

 claim number 197 against Revelation Energy, LLC (“Claim 197”), which asserted a claim for

 $5,250,476.77.

        WHEREAS, on August 7, 2019, Triple H Real Estate, LLC filed proof of claim number

 198 against Blackjewel, LLC (“Claim 198”), which asserted a claim for $3,453,031.57.

        WHEREAS, on August 7, 2019, Lexington Coal Royalty Company, LLC filed proof of

 claim number 199 against Blackjewel L.L.C. (“Claim 199”), which asserted a claim for

 $4,238,821.60.

        WHEREAS, on August 7, 2019, Triple H Real Estate, LLC filed proof of claim number

 201 against Revelation Energy, LLC (“Claim 201”), which asserted a claim for $212,800.00.

        WHEREAS, on August 20, 2019, Forrest Machine LLC filed proof of claim number 284

 against Blackjewel L.L.C. (“Claim 284”), which asserted a claim for $299,101.21.

        WHEREAS, on October 11, 2019, Republic Superior Products, LLC filed proof of claim

 number 876 against Blackjewel L.L.C. (“Claim 876”), which asserted a claim for $2,672,515.63.


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        WHEREAS, on October 11, 2019, Black Diamond Insurance Group LLC filed proof of

 claim number 901 against Blackjewel, L.L.C. (“Claim 901”), which asserted a claim for

 $10,919.17.

        WHEREAS, on October 11, 2019, Republic Superior Products, LLC filed proof of claim

 number 902 against Revelation Energy, LLC (“Claim 902”), which asserted a claim for

 $349,371.23.

        WHEREAS, on October 21, 2019, Walls & Associates, PLLC filed proof of claim number

 996 against Blackjewel, L.L.C. (“Claim 996”), which asserted a claim for $32,500.00.

        WHEREAS, on October 28, 2019, Construction & Reclamation Services, LLC filed proof

 of claim number 1057 against Blackjewel L.L.C. (“Claim 1057”), which asserted a claim for

 $140,904.39.

        WHEREAS, on October 31, 2019, Jeffery A. Hoops filed proof of claim number 1085

 against Blackjewel, L.L.C. (“Claim 1085”), which asserted a claim for $6,960.00.

        WHEREAS, on October 31, 2019, Jeffery A. Hoops, Sr. filed proof of claim number 1182

 against Blackjewel, L.L.C. (“Claim 1182”), which asserted a claim for $3,134,008.18.

        WHEREAS, on October 31, 2019, Triple H Aviation, LLC filed proof of claim number

 1189 against Blackjewel, L.L.C. (“Claim 1189”), which asserted a claim for $16,500.

        WHEREAS, on October 28, 2019, Construction & Reclamation Services, LLC filed proof

 of claim number 1195 against Revelation Energy, LLC (“Claim 1195”), which asserted a claim

 for $527,982.43.




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        WHEREAS, on October 28, 2019, Black Diamond Insurance Group LLC filed proof of

 claim number 1227 against Revelation Energy LLC (“Claim 1227”), which asserted a claim for

 $358,456.35.

        WHEREAS, on October 31, 2019, Jeffery A. Hoops filed proof of claim number 1260

 against Blackjewel L.L.C. (“Claim 1260”), which asserted a claim for $3,604,267.71.

        WHEREAS, on October 31, 2019, Clearwater Investment Holdings, LLC filed proof of

 claim number 1271 against Blackjewel L.L.C. (“Claim 1271”), which asserted a claim for

 $7,280,577.99 (collectively with Claims 191, 197, 198, 199, 201, 284, 876, 901, 902, 996, 1057,

 1085, 1182, 1189, 1195, 1227, and 1260, the “Proofs of Claim”).

        WHEREAS, on August 15, 2019 the Debtors submitted their schedules of known

 liabilities, which included the following scheduled claims (collectively, the “Scheduled Claims”):

            x   Schedule Number 1612234, indicating $6,133,985.67 owed by Blackjewel, L.L.C.

                related to amounts payable to Hoops-Blackjewel East.

            x   Schedule Number 1612240, indicating $2,737,329.44 owed by Blackjewel, L.L.C.

                related to amounts payable to Hoops-Default.

            x   Schedule Number 1612288, indicating $7,680.60 owed by Blackjewel, L.L.C. to

                Black Diamond Insurance Group, LLC.

            x   Schedule Number 1612377, indicating $81,099.86 owed by Blackjewel, L.L.C. to

                Clearwater Investment Holdings LLC.

            x   Schedule Number 1612399, indicating $88,334.35 owed by Blackjewel, L.L.C. to

                Construction & Reclamation Services LLC.


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          x   Schedule Number 1612505, indicating $289,101.21 owed by Blackjewel, L.L.C. to

              Forrest Machine LLC.

          x   Schedule Number 1612526, indicating $0.00 owed by Blackjewel, L.L.C. to

              Genesis Trucking LLC.

          x   Schedule Number 1612681, indicating $208,352.86 owed by Blackjewel, L.L.C. to

              Lexington Coal Company, LLC.

          x   Schedule Number 1612682, indicating $710,931.19 owed by Blackjewel, L.L.C. to

              Lexington Coal Royalty Company, LLC.

          x   Schedule Number 1612875, indicating $1,922,588.03 owed by Blackjewel, L.L.C.

              to Republic Superior Products, LLC.

          x   Schedule Number 1613033, indicating $1,045.97 owed by Blackjewel, L.L.C. to

              Triple H Family Limited Partnership.

          x   Schedule Number 1613034, indicating $1,456,216.87 owed by Blackjewel, L.L.C.

              to Triple H Real Estate, LLC.

          x   Schedule Number 1613071, indicating $30,000.00 owed by Blackjewel, L.L.C. to

              Walls & Associates, PLLC.

          x   Schedule Number 1613246, indicating $401,302.58 owed by Revelation Energy,

              LLC to Construction & Reclamation Services LLC.

          x   Schedule Number 1613271, indicating $5,616.80 owed by Revelation Energy, LLC

              to Jeremy Hoops.




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             x   Schedule Number 1613309, indicating $317,237.48 owed by Revelation Energy,

                 LLC to Republic Superior Products, LLC.

        WHEREAS, the Parties have determined that it is in their respective best interests to

 resolve all of the Proofs of Claim and Scheduled Claims consensually and without further dispute.

        NOW, THEREFORE, the Parties hereby stipulate and agree, and request that the Court

 enter this proposed Order as its own order, as follows:

        1.       The Proofs of Claim are withdrawn with prejudice.

        2.       The Scheduled Claims shall be disallowed in their entirety and expunged.

        3.       Any and all other claims as defined in 11 U.S.C. § 101(5), including but not limited

 to, proofs of claims or scheduled claims, against the Debtors by or in favor of any of the Hoops

 Parties, and any of their direct or indirect subsidiaries, are withdrawn with prejudice and deemed

 disallowed regardless of whether such claims are included in the list of Proofs of Claims or

 Scheduled Claims.

        4.       The Trust and its claims and noticing agent, Kroll Restructuring Administration

 LLC (f/k/a Prime Clerk), are authorized to take any and all necessary actions to update the claims

 register in these chapter 11 cases and to give effect to the terms of this Order.

        5.       Except as otherwise set forth herein, nothing in this Order shall be deemed: (a) an

 admission as to the validity of any proof of claim against a Debtor; (b) a waiver of any Party’s

 right to dispute any proof of claim on any ground; (c) a promise or requirement to pay any proof

 of claim; or (d) a waiver of the Trust’s rights under the Bankruptcy Code or any other applicable

 law.


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         6.      For the avoidance of doubt, nothing in this Order shall be deemed to enhance,

 affect, impair, or otherwise prejudice any rights, claims, or defenses between the Parties except as

 set forth herein.

         7.      The provisions of this Order are non-severable and mutually dependent.

         8.      Notwithstanding the possible applicability of Rules 4001(a)(3), 6004(h), 7062, or

 9014 of the Federal Rules of Bankruptcy Procedure, or otherwise, this Order shall be immediately

 effective and enforceable upon its entry.

         9.      This Court retains exclusive jurisdiction with respect to all matters related to the

 implementation, interpretation, and enforcement of this Order.




                                      [Signature Page Follows]




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  Associates, PLLC, and Jeremy Hoops
